Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 1 of
                                      137

                                                                   P-637
                                                             Case No. 9:18-CV-89176-BB
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 2 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 3 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 4 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 5 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 6 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 7 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 8 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 9 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 10 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 11 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 12 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 13 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 14 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 15 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 16 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 17 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 18 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 19 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 20 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 21 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 22 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 23 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 24 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 25 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 26 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 27 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 28 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 29 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 30 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 31 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 32 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 33 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 34 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 35 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 36 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 37 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 38 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 39 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 40 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 41 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 42 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 43 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 44 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 45 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 46 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 47 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 48 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 49 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 50 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 51 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 52 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 53 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 54 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 55 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 56 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 57 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 58 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 59 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 60 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 61 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 62 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 63 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 64 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 65 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 66 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 67 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 68 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 69 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 70 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 71 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 72 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 73 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 74 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 75 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 76 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 77 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 78 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 79 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 80 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 81 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 82 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 83 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 84 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 85 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 86 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 87 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 88 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 89 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 90 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 91 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 92 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 93 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 94 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 95 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 96 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 97 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 98 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 99 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 100 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 101 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 102 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 103 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 104 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 105 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 106 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 107 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 108 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 109 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 110 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 111 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 112 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 113 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 114 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 115 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 116 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 117 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 118 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 119 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 120 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 121 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 122 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 123 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 124 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 125 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 126 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 127 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 128 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 129 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 130 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 131 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 132 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 133 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 134 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 135 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 136 of
                                      137
Case 9:18-cv-80176-BB Document 885-15 Entered on FLSD Docket 02/17/2022 Page 137 of
                                      137
